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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §     CASE NO. 2:11-CR-11-2 JRG-RSP
                                             §
TAMARA LYNN OLIVARES                         §

             ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                      FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 66 charging

a violation of 21 U.S.C. ' 841(c), Possession of a List 1 Chemical with Intent to Manufacture

Methamphetamine. Having conducted a proceeding in the form and manner prescribed by FED.

R. CRIM P. 11, the Magistrate Judge recommends that the Court accept the defendant=s guilty
      .
plea. The parties have filed no objections to the Findings of Fact and Recommendation. The

Court is of the opinion that the Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the

United States Magistrate Judge, filed April 12, 2012, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 66 of the indictment in the above-numbered cause.
         SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 16th day of May, 2012.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE
